     Case 1:12-cv-01649-AWI-MJS Document 46 Filed 10/27/14 Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8                                 UNITED STATES DISTRICT COURT

 9                             EASTERN DISTRICT OF CALIFORNIA

10

11   BRANDON JAQUAY HOLMES,                       CASE NO. 1:12-cv-01649-AWI-MJS
12                    Plaintiff,                  ORDER DENYING PLAINTIFF’S MOTION
13                                                FOR APPOINTMENT OF COUNSEL
           v.
14                                                (ECF NO. 41)
     CHRISTIAN LEPE, et al.,
15
                      Defendants.
16

17
           Plaintiff Brandon Holmes is a federal prisoner proceeding pro se and in forma
18
     pauperis in this civil rights action pursuant to Bivens v. Six Unknown Named Agents of
19
     the Federal Bureau of Narcotics, 403 U.S. 388 (1971), which provides a remedy for the
20
     violation of civil rights by federal actors. On October 6, 2014, Plaintiff filed a motion
21
     seeking the appointment of counsel. (ECF No. 41.)
22
           Plaintiff does not have a constitutional right to appointed counsel in this action,
23
     Rand v. Rowland, 113 F.3d 1520, 1525 (9th Cir. 1997) (partially overruled en banc on
24
     other grounds, 154 F.3d 952, 954 n. 1 (9th Cir. 1998)), and the Court cannot require an
25
     attorney to represent Plaintiff pursuant to 28 U.S.C. § 1915(e)(1). Mallard v. United
26
     States District Court for the Southern District of Iowa, 490 U.S. 296, 298 (1989).
27

28
                                                 1
     Case 1:12-cv-01649-AWI-MJS Document 46 Filed 10/27/14 Page 2 of 2


1           In certain exceptional circumstances the Court may request the voluntary

2    assistance of counsel pursuant to section 1915(e)(1).            Rand, 113 F.3d at 1525.

3    However, without a reasonable method of securing and compensating counsel, the

4    Court will seek volunteer counsel only in the most serious and exceptional cases. In

5    determining whether “exceptional circumstances exist, the district court must evaluate

6    both the likelihood of success of the merits [and] the ability of the [plaintiff] to articulate

7    his claims pro se in light of the complexity of the legal issues involved.” Id. (Internal

8    quotation marks and citations omitted.)

9           In the present case, the Court does not find the required exceptional

10   circumstances. Even if it is assumed that Plaintiff is not well versed in the law and that

11   he has made serious allegations which, if proved, would entitle him to relief, his case is

12   not exceptional. This Court is faced with similar cases almost daily. Further, at this early

13   stage in the proceedings, the Court cannot make a determination that Plaintiff is likely to

14   succeed on the merits, and based on a review of the record in this case, the Court does

15   not find that Plaintiff cannot adequately articulate his claims. Id.

16          For the foregoing reasons, Plaintiff’s Motion for Appointment of Counsel (ECF No.

17   41) is DENIED, without prejudice.

18
     IT IS SO ORDERED.
19

20
        Dated:     October 24, 2014                       /s/   Michael J. Seng
21                                                     UNITED STATES MAGISTRATE JUDGE
22

23

24

25

26
27

28
                                                   2
